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Diamond Select Toys & Collectibles, LLC                 Case No. 25-10312
Statement of Operations                                            Feb-25

                                                  Diamond Select Toys &
                                                     Collectibles, LLC

Revenue
 Sales - Wholesale                                $              111,453
 Sales - Webstore                                                316,441
Total Sales                                                      427,894

Cost Of Sales
 Manufacturing                                                    96,857
 Fulfilment                                                       19,474
Total Cost Of Sales                                              116,331

Gross Profit                                                     311,563

Selling, General, and Administrative
 Bank Fees                                                           532
 Other Admit Cost                                                 60,201
 Salaries & Payroll Taxes                                         99,643
Total G&A Costs                                                  160,376

Net Income (Loss)                                                151,188
